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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


UNITED STATES OF AMERICA

      v.                                CASE NO. 8:12-cr-0076-MSS-TBM

JOSHUA TAYLOR


          UNITED STATES’ RESPONSE IN OPPOSITION TO
     JOSHUA TAYLOR’S MOTION FOR COMPASSIONATE RELEASE

      The United States opposes Taylor’s motion for compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) and the Coronavirus Aid, Relief, and

Economic Security Act (“CARES Act”), Pub. L. No. 116-136, § 12003(b)(2), 134

Stat. 281, 516 (to be codified at 18 U.S.C. § 362)] based on COVID-19 concerns.

Doc. 68. Taylor has not demonstrated that he has any medical conditions that satisfy

the requirements for compassionate release. And, the Bureau of Prisons (“BOP”) has

implemented a COVID-19 action plan to minimize the risk of transmission into and

throughout its facilities. 1 Accordingly, COVID-19 is not an extraordinary and

compelling reason to grant Taylor’s compassionate release.




      1
        See BOP Implementing Modified Operations, available at
https://www.bop.gov/coronavirus/covid19_status.jsp (last accessed on September 28,
2020).
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      Background.

      This Court sentenced Taylor to 210 months’ imprisonment after pleading

guilty to one count of transportation of visual depictions of a minor engaging in

sexually explicit conduct. Doc. 31. As detailed in the plea agreement, signed by

Taylor, in January 2012, Taylor was found in possession of over 5,000 images and

videos of child pornography. Doc. 16. Further, Taylor had engaged in online

communications with an undercover detective for the purpose of exchanging videos

of child pornography. Id.

      Taylor is currently incarcerated at Fort Dix FCI in New Jersey, is 38 years

old, and is projected to be released on December 8, 2026. See BOP Inmate Locator at

https://www.bop.gov/inmateloc/ (last accessed on April 5, 2021). Taylor has served

over half of his sentence, however approximately five years still remain. In 2015

during his incarceration, Taylor was sanctioned for possessing pictures of children.

      On September 25, 2020, Taylor filed his first motion for compassionate

release, “as a victim of Covid-19 in prison,” relying on the threat posed by the

COVID-19 pandemic. Doc 61. The Unites States filed a response in opposition on

October 8, 2020. Doc. 64. The United States hereby incorporates and adopts by

reference all of the arguments made in its original response.

      On October 16, 2020, this Court denied Taylor’s motion for compassionate

release. Doc. 65. In its Order, the Court stated in part, “although the Defendant

asserts that he has asthma, he ‘does not include details including its severity, how



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long he has had asthma, and whether he uses an inhaler or medication to treat his

condition.’” United States v. Zamor, No. 17-20353-CR, 2020 WL 2764282 at *1 (S.D.

Fla. May 12, 2020). Id. at 4. The Court further stated that Taylor “cannot show that

extraordinary and compelling reasons support his release.” Id. at 5. The Court

concluded that even if Taylor had established an extraordinary and compelling

reason, the applicable Section 3553(a) factors and the dangers posed to the public

weigh against a reduction in sentence. Id.

      In Taylor’s current motion, he provides little in the way of additional

information regarding his asthma. While Taylor asserts that he suffers from other

medical conditions in addition to asthma, Taylor does not provide any medical

documentation to support those assertions. As such, Taylor has again failed to show

that extraordinary and compelling reasons support his release.

      Even if Taylor had established an extraordinary and compelling reason, the

fact remains unchanged that the danger Taylor poses to the public weighs against a

reduction in sentence. Many of the child pornographic images Taylor possessed

depicted sadistic and masochistic conduct. The sentence Taylor received reflects the

seriousness of his offense conduct, promotes respect for the law, provides just

punishment, affords adequate deterrence to criminal conduct, and protects the public

from future crimes of Taylor.




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                                 CONCLUSION

      For the foregoing reasons, this Court should deny Taylor’s motion for

compassionate release based on COVID-19.

                                      Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 6, 2021, a true and correct copy of the foregoing

document and the notice of electronic filing were sent by United States Mail to the

following non-CM/ECF participant(s):

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